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     8                    UNITED STATES DISTRICT COURT
     9                  CENTRAL DISTRICT OF CALIFORNIA
    10 OKLAHOMA FIREFIGHTERS                 )
       PENSION & RETIREMENT                  )   Case No.: CV 13-8440-DMG (SHx)
    11
       SYSTEM and OKLAHOMA LAW               )
    12 ENFORCEMENT RETIREMENT                )   AMENDED ORDER
       SYSTEM, Individually and on Behalf    )   APPROVING
    13
       of All Others Similarly Situated,     )   DISTRIBUTION OF NET
    14                                       )   SETTLEMENT FUND [150]
                         Plaintiffs,         )
    15
                   v.                        )
    16                                       )
       IXIA, VICTOR ALSTON, ATUL             )
    17
       BHATNAGAR, THOMAS B.                  )
    18 MILLER, and ERROL GINSBERG,           )
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                                             )
                         Defendants.         )
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     1         This matter having come before the Court on Lead Plaintiff’s Motion for
     2   Approval of Distribution of Net Settlement Fund (“Motion”), and the Court
     3   having considered the moving papers,
     4         IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
     5         1.     The motion is GRANTED in its entirety;
     6         2.     Unless otherwise defined herein, all capitalized terms shall have the
     7   meaning set forth in the Notice Of (i) Proposed Settlement Of Class Action,
     8   (ii) Hearing On Proposed Settlement, and (iii) Deadline To Submit Proofs Of
     9   Claim;
    10         3.     The Court hereby approves the administrative recommendation by
    11   the Claims Administrator to reject the claims that the Claims Administrator
    12   determined to be wholly ineligible to participate in the Settlement or that
    13   otherwise involved deficient claim documentation, including claims that
    14   continued to have deficient documentation after an ample time to cure those
    15   deficiencies, as set forth on Exhibit C to the Manigault Declaration;
    16         4.     The Court hereby authorizes the Claims Administrator to: (i) accept
    17   the otherwise eligible claims that were submitted after the claims submission
    18   deadline and that are listed on Exhibit C to the Manigault Declaration, and to
    19   treat such claimants as Authorized Claimants in accordance with the Plan of
    20   Allocation, and (ii) reject all proofs of claim submitted after the claims
    21   submission deadline that are not listed on Exhibit C to the Manigault Declaration;
    22         5.     The Court hereby authorizes distribution of the Net Settlement Fund
    23   to Authorized Claimants in accordance with the Plan of Allocation, on a pro rata
    24   basis based on the amounts of their Recognized Claims as calculated by the
    25   Claims Administrator and as set forth on Exhibit C to the Manigault Declaration,
    26   except that payment will not be made to any Authorized Claimants whose
    27   payment would be less than $10.00;
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     1         6.     For any funds remaining one year from the initial distribution of the
     2   Net Settlement Fund, after payment of claims administration costs as ordered
     3   herein, and after reasonable and diligent efforts by the Claims Administrator to
     4   contact claimants who have not cashed their payments, the Claims Administrator
     5   shall consult with Lead Counsel to determine if a redistribution of the remaining
     6   Net Settlement Fund to Class Members who cashed their initial distribution
     7   check is cost effective, after taking into consideration payment of any additional
     8   costs and expenses that would be associated with a redistribution, or if the
     9   balance will be distributed cy pres;
    10         7.     The Court hereby authorizes the destruction of the paper copies of
    11   the proof of claim forms and related paper documentation one year after the final
    12   distribution of the Net Settlement Amount, and any electronic copies of those
    13   documents three years after the final distribution of the Net Settlement Amount;
    14   and
    15         8.     The Court retains jurisdiction to consider any further applications
    16   concerning the administration of the Settlement, and to grant such other and
    17   further relief as this Court deems appropriate.
    18   IT IS SO ORDERED.
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    20   DATED: February 21, 2017               ______________________________
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                                                DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
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     1                                     Schedule 1
     2     List of Persons and Entities Who Excluded Themselves from the Class in
     3
                Oklahoma Firefighters Pension & Retirement System v. Ixia, et al.,
                         Case No. CV13-08440-DMG(SHx) (C.D. Cal.)
     4

     5         The following persons and entities, and only the following persons and
     6   entities, properly excluded themselves from the Class by the June 29, 2016,
     7   deadline pursuant to the Court’s Order dated February 29, 2016:
     8        Betty Svoronos, individually and
     9        as Executor of the Estate of
              Andreas Svoronos
    10
              Chauncey Bryant
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